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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X

In re:
                                                                        03-MD-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                              SAUDI ARABIA
                                                                    NOTICE OF AMENDMENT

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         This document relates to: Ashton v. Kingdom of Saudi Arabia, No.17-cv-2003 (GBD)(SN).

         Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the

 above-referenced matter, ECF No. 1, as permitted and approved by the Court’s Order of July 10,

 2018, ECF No. 4045. Upon the filing of this Notice of Amendment, the underlying Complaint is

 deemed amended to add the individuals listed below (the “New Plaintiffs”) as plaintiffs raising

 claims against the Kingdom of Saudi Arabia. The underlying Complaint is deemed amended to

 include the factual allegations, jurisdictional allegations, and jury trial demand, as indicated

 below, of (a) the Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF No.

 3463, or (b) the Complaint Against the Kingdom of Saudi Arabia, Ashton v. Kingdom of Saudi

 Arabia, No. 17-cv-2003 (GBD)(SN) (S.D.N.Y. Mar. 30, 2017), ECF No. 1, as well as all causes

 of action specified below. The amendment effected through this Notice of Amendment

 supplements by incorporation into, but does not displace, the underlying Complaint. This Notice

 of Amendment relates solely to the Kingdom of Saudi Arabia and does not apply to any other

 defendant.

         Upon filing this Saudi Arabia Notice of Amendment, each New Plaintiff is deemed to have

 adopted all factual and jurisdictional allegations of the complaint that has been joined as specified

 below; all prior filings in connection with that complaint; and all prior Orders and rulings of the

 Court in connection with that complaint.

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                                    CAUSES OF ACTION

     Each Plaintiff hereby adopts and incorporates herein by reference the following factual

allegations, jurisdictional allegations, and jury trial demand in the following complaint [check

only one complaint] and the following causes of action set forth in that complaint:

           Consolidated Amended Complaint as to the Kingdom of Saudi Arabia,              ECF
     No. 3463 (check all causes of action that apply)

           ☐       COUNT I – Aiding and Abetting and Conspiring with Al Qaeda to Commit
                   the September 11th Attacks upon the United States in violation of 18 U.S.C. §
                   2333(d) (JASTA).

           ☐       COUNT II – Aiding and Abetting and Conspiring with Al Qaeda to Commit
                   the September 11th Attacks upon the United States in violation of 18 U.S.C. §
                   2333(a).

           ☐       COUNT III – Committing Acts of International Terrorism in violation of 18
                   U.S.C. § 2333.

           ☐       COUNT IV – Wrongful Death.

           ☐       COUNT VI – Alien Tort Claims Act.

           ☐       COUNT VII – Assault and Battery.

           ☐       COUNT VIII – Conspiracy.

           ☐       COUNT IX – Aiding and Abetting.

           ☐       COUNT X – Intentional Infliction of Emotional Distress.

           ☐       COUNT XII – Liability Pursuant to Restatement (Second) of Torts §317 and
                   Restatement (Third) of Agency § 7.05: Supervising Employees and Agents.

           ☐       COUNT XIII – Liability Pursuant to Restatement (Second) of Torts § 317 and
                   Restatement (Third) of Agency § 7.05: Hiring, Selecting, and Retaining
                   Employees and Agents.

           ☐       COUNT XIV – 18 U.S.C. § 1962(a)–(d) – CIVIL RICO.

           ☐       COUNT XV – Trespass.
                                                  2
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  ☐     COU
          UNT XVI – Violations of
                               o Internatioonal Law.

   Complain  nt Against the
                         t Kingdom   m of Saudi A
                                                Arabia, Ashhton v. Kinggdom of Sau udi
   Arabia, No.
            N 17-CV-2    2003 (GBD)((SN) (S.D.N
                                              N.Y. Mar. 300, 2017), ECFF No. 1 (cheeck
   all causess of action th
                          hat apply)

        Firsst Cause of Action
                        A      to Recover
                                  R         Wroongful Deathh Damages Pursuant to 28
        U.S.C. § 1605B B (the Justicce Against SSponsors of Terrorism A
                                                                      Act or JAST
                                                                                TA)
        and 18 U.S.C. § 2333 et seqq. (the Anti- Terrorism A
                                                           Act or ATA)

        Firsst Cause of Action to Recover
                                    R        Perrsonal Injuryy Damages Pursuant to 28
        U.S.C. § 1605B (the Justice Against Spoonsors of Terrrorism Act oor JASTA) aand
        18 U.S.C.
            U      § 233
                       33 et seq. (th
                                    he Anti-Terroorism Act orr ATA)

         Seccond Cause of Action fo
                                  or Wrongful Death Damaages Pursuannt to State T
                                                                                Tort
        Law
          w

         Seccond Cause of Action fo
                                  or Personal Innjury Damagges Pursuannt to State Toort
        Law
          w

         Third Cause off Action for Wrongful D
                                             Death Damagges Pursuant to the Alienn
        Tortt Claims Actt

         Third Cause off Action for Personal Inj ury Damagees Pursuant tto the Alien
        Tortt Claims Actt




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                       IDENTIFICATION OF NEW PLAINTIFFS

       Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks

of September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s

name, the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased

family member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the

underlying Complaint discussing the decedent and/or the decedent’s estate.

                                                                                      Paragraphs
                       Plaintiff's       New                              New              of
       Plaintiff's      State of      Plaintiff's        9/11          Plaintiff's    Complaint
         Name          Residency     Citizenship/     Decedent's      Relationship     discussing
                        at filing     Nationality       Name            to 9/11           9/11
                       (or death)    on 9/11/2001                      Decedent        Decedent

1    Dickey, Joseph       NY            USA         Dickey, Joseph           Son          N/A

2 Dickey, Elizabeth       NY            USA         Dickey, Joseph      Daughter          N/A

3    Kelly, Brianne       NY            USA          Kelly, James       Daughter          N/A

4     Kelly, Kaitlyn      NY            USA          Kelly, James       Daughter          N/A

5      Kelly, Erin        NY            USA          Kelly, James       Daughter          N/A

6    Kelly, Colleen       NY            USA          Kelly, James       Daughter          N/A

7     O'Brien, John       NY            USA         O'Brien Timothy          Son          N/A
        O'Brien,
8                         NY            USA         O'Brien Timothy      Daughter         N/A
       Jacqueline
9    Seaman, Edward       NY            USA         Seaman Michael           Son          N/A
        Seaman,
10                        NY            USA         Seaman Michael      Daughter          N/A
        Michaella
11   Seaman, Mary         NY            USA         Seaman Michael      Daughter          N/A

12    Sliwak, Ryan        NY            USA          Sliwak, Robert          Son          N/A

13    Sliwak, Kyle        NY            USA          Sliwak, Robert          Son          N/A
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14   Sliwak, Nichole    NY     USA         Sliwak, Robert      Daughter          N/A

15 Wallice III, John    NY     USA        Wallice, Jr., John      Son            N/A

16   Wallice, Patrick   NY     USA        Wallice, Jr., John      Son            N/A

17 Wallice, Christian   NY     USA        Wallice, Jr., John      Son            N/A



Dated: December 19, 2018

                                                  Respectfully submitted,
                                                  Law Office of John F. Schutty, P.C.

                                                  /s]É{Ç YA fv{âààç
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